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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
___________________________________
                                       )
LASHAWN JONES, ET AL,                  )
Plaintiffs; and                        )
UNITED STATES OF AMERICA,              )
Plaintiffs in Intervention             )
                                       )
v.                                     )
                                       )
                                       )
MARLIN N. GUSMAN, ET AL,               )
Defendants                             )          Civil Action No. 2:12-cv-00859
___________________________________ )             Section I, Division 1
                                       )          Judge Lance M. Africk
MARLIN N. GUSMAN,                      )          Magistrate Judge Sally Shushan
Third-Party Plaintiff                  )
                                       )
v.                                     )
                                       )
THE CITY OF NEW ORLEANS,               )
Third-Party Defendant                  )
___________________________________ )

                  SHERIFF GUSMAN’S PROPOSAL MEMORANDUM
                    FOR SHORT-TERM HOUSING OF ACUTE AND
                   SUB-ACUTE MENTAL HEALTH POPULATIONS


       The City of New Orleans is solely responsible for providing a good and sufficient jail,

and that jail must be able to constitutionally house those prisoners with acute mental health

conditions, all of whom are individuals arrested by the New Orleans Police Department. Three

and a half years ago, the City Council passed an ordinance pertaining to the 1438 bed facility

under construction which contains the following language:

       The applicant shall ensure that upon completion, the 1,438 bed facility at the Templeman
       III & IV site is designed to accommodate any type of prisoner under any jurisdiction.
       This includes, but is not limited to, state and federal prisoners, inmates that need
       substance abuse and mental health treatment (except inmates that require acute mental
       health treatment), female inmates, and prisoners participating in a re-entry program and
       that the facility is able to provide a variety or programming aimed at reducing recidivism
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       including, but not limited to, medical care, educational services, including GED
       preparation, vocational and job training. (Emphasis added).

Inexplicably, there has been no step taken by the City towards either construction of or

identification of a facility intended to house inmates with acute mental health conditions. The

Court has advised the parties that it will address long-term housing at a later date.

       In addition to the long-term needs relative to the mental health population, the City has

failed to provide any current jail which can accommodate those prisoners, thus the Sheriff now

presents the following proposal for short-term housing of acute and sub-acute mental health

populations.   This proposal is only intended to be a temporary solution until Phase III

construction is completed.

       In this memorandum, the Sheriff provides the Court and the parties with all known or

estimated costs and timelines and notes that some costs will not be known until implementation

of the proposal is underway and may change as this process develops.

          CURRENT HOUSING OF ACUTE AND SUB-ACUTE POPULATION

       Both male and female prisoners with acute mental health conditions are currently housed

in Templeman Phase V (hereinafter “TP5”). The specific units which are dedicated to housing

those with acute mental health conditions are designed and operated as lockdown units with a

very limited common area, no clinical or group therapy space, and poor sight lines. Inmates are

housed with up to three other individuals in four man cells, and are provided with time out of

their cells either individually or with small groups of other individuals throughout the day.

Mental health staff enters the unit to perform routine treatment services and administer

medication, while limited space results in medical staff needing to remove the prisoner from the

unit for many types of treatment. Due to the burdensome sight lines, intense staffing is needed

for observation, and security deputies are presently tasked with performing observation functions
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on the unit.

       The unit is designed in a straight, linear fashion, with cells along both sides of the unit

and a dormitory area with tables, and staff must be directly in front of each particular cell to see

inside that cell. The doors on the units are solid metal, with a window being the only means by

which inmates in the cells can be observed. Camera coverage in the units is extremely limited.

The jail security system, which controls the locks on the doors, is outdated and requires constant

repairs. The company that designed the system is now defunct and no longer exists, and thus

service must be performed in-house. This system, which is at max capacity and which has no

ports for additional cameras, functions on Windows XP, which is no longer supported by

Microsoft and thus may not be serviceable for much longer. The OPSO has been provided with

no resources by the City to update any electronics or to paint or repair the building in any way.

                                CORRECTIVE ACTION PLAN

Male Acute Mental Health

       The male acute mental health population will be housed at a facility located on the

campus of Elayn Hunt Correctional Center (hereinafter referred to as “Hunt MHU”), located in

St. Gabriel, Louisiana. This facility has a design style which is more conducive to housing those

with mental illness, featuring a semi-circular layout which provides staff, both on the unit and in

the control area, with greatly improved vision of the insides of the cells.    This facility will be

able to accommodate up to 44 special needs inmates in large, spacious cells which each contain a

single bed. Hunt MHU also features a large common area with several tables to accommodate

out-of-cell time as well as on-unit group therapy. There are also additional group therapy rooms,

social workers’ offices, exam rooms, secured pill storage and medical supply rooms, and a

dumb-weight elevator allowing staff to safely transport medical equipment to both levels while
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outside the reach of inmates. The Secretary of the Department of Corrections has agreed to lease

this facility to the Sheriff at nominal cost for up to three years, which will allow time for the

construction of the needed facility on the OPP campus.

       The Hunt MHU building will first require some equipment to make the unit operational.

The following supplies to operate the unit, which are the same supplies used throughout the Hunt

facilities, will be purchased at the reduced cost at which the Department of Corrections is able to

access them:

Item                      Quantity                  Unit Cost                 Total Cost

Televisions               24                        $329.99                   $7,896

Chow Carts                2                         $5,000                    $10,000

Hot Food Table            2                         $1,689                    $3,378

Mattresses                30                        $44.85                    $1,345

Bedding                   30                        $21.51                    $650

Office Furniture                                                              $1,000

Pill Cart                 2                         $2012                     $4,024

TOTAL SUPPLIES:                                                               $28,293



       Inmates housed at Hunt MHU will be dressed in standard OPP uniforms, thus there will

be no additional cost. Also, Hunt has agreed to provide laundry services on-site for no additional

cost to the Sheriff. Hunt will require reimbursement of approximately $3.50 per inmate per day

to cover all feeding costs associated with these prisoners, including special diets as required.

       Occupation of this unit will also require minor renovations and repairs. Portions of this

work can be accomplished at a low cost due to Hunt staff offering use of on-site contractors
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which utilize inmate labor. This section of costs includes:

Task                                                               Supplies + Labor

Sidewalk to Rec. Yard                                              $1,500

Fencing of Sidewalk                                                $14,500

Cameras on Rec Yard                                                $25,000

Electric Gate Lock                                                 $3,000

TOTAL:                                                             $44,000



       Because four cells will be designated to house inmates whom are suicidal, doors with

security glass and/or Lexan glass coverings will be utilized in those cells prevent those inmates

from accessing the bars and using them as potential ligature anchors. The ventilation system of

this facility is designed in a way in which air is pulled from the outside of the cells, directly

through the cells, and up through the ceiling of the common area outside of the cells. Because

the glazing will prevent that airflow within those four cells, suicide resistant vents will be

installed within the cells, and mechanical ventilation will likely need to be added to those cells.

Suicide resistant beds will need to be added in these four cells, and cost approximately $1000

each, with each mattress costing $250-$400 each depending on the type of mattress selected.

(See Attachment A)

       It was originally thought that additional cameras would be required for this housing

space; however, the monitors suggested that the proposed staffing level may be sufficient to

negate the need to add camera equipment beyond what already exists within the unit, since it is

not the intention of OPSO to use cameras for direct supervision purposes. Staff is currently

seeking a blueprint depicting current camera placement, and this will be provided to the monitors
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for further review. Should their opinions of the space change review, cameras will be added as

needed, and this work can be accomplished with inmates in the unit. It will be essential,

however, to add recording capability to the existing cameras in the facility.

       As indicated on the attached cost breakdown sheet (See Attachment B), the full cost

materials and construction pertaining to modifying the suicide resistant cells, adding glazing and

additional mechanical ventilation, adding suicide resistant vents, adding 60 day video recording

capability with two additional monitors, adding video conferencing capability, adding multiuse

conference and group therapy furniture to the facility will cost approximately $293,000.

       Two medical transportation units will be needed to move inmates between Hunt MHU

and the OPP campus, and these units are expected to cost approximately $15,000-20,000 each

for used units based upon inquiries made by Chief Tidwell. These units will be operated on a

daily basis for purposes of transporting inmates to Hunt MHU. Court appearances may require

additional transportation depending on the duration of the proceeding. Video appearances via

video conferencing equipment will be used whenever allowed under law to reduce unnecessary

travel. The OPSO will utilize its current weekly Hunt run as an additional opportunity to return

inmates from Hunt to OPP to avoid duplication of expenditures. It is anticipated that the total

fuel costs to operate these vehicles will be between $2000-4000 per month.

       It is expected that the OPSO could transfer its acute mental health males to this facility as

soon as July 24. It is the OPSO’s intention of operating this facility in the manner suggested by

Dr. Patterson, whereby inmates are housed on this unit for a short period of time while they

receive intense treatment and therapy, with the goal of transporting these inmates to the sub-

acute/step-down mental health unit, and then back to general population.
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Staffing:

       The Hunt MHU will require additional staff, both mental health and security, to begin

operations. Initially, mental health staff, including psychiatrists, social workers, and nurses, will

be provided by CorrectHealth, which currently locates and provides medical and mental health

staff in the OPP campus facilities.       Dr. Musso’s preliminary minimum staffing plan (See

Attachment C) includes: 1 mental health RN, who will serve as unit supervisor and will work 5

days per week; LPNs staffing the unit 24/7; certified nursing assistants for direct observation

purposes; LPC / LCSWs 5 days per week; a forensic psychologist 20 hours/ week; and APRN

Psych nurse 20 hours per week with OPP’s psychiatrist or the Medical Director available on a

daily basis as needed with additional telemedicine appointments. CVs for the staff will be

provided to the parties, and modifications to the plan will be made based upon any input from the

monitoring team. The new medical / mental healthcare vendor selected by the committee will be

required to provide adequate mental health staff for this facility as part of the contract process.

       Being that security staffing at the OPP campus is still critically low, though improving,

transfer of a substantial amount of staff to that facility would certainly lead to a further shortfall

on the OPP campus. As such, security staff at the Hunt MHU facility will consist solely of

Department of Corrections / Hunt Correctional guards.          The first 30-60 days of staffing will

require the utilization of overtime manpower to staff this facility, which is estimated to cost

approximately $140,000 per month during those two months. The breakdown of posts, which

will be fully staffed on all 4 shifts, covering 24 hours per day, is as follows:
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Officer                             Pay Rate / Overtime Rate            # of Positions

MSgt                                $20.95 / $31.43                     5

Lt                                  $25.66 / N.A.                       1

Total Per Month w/OT:                                                   $144,000 approx.



          In the interim, the hiring of additional DOC guards for Elayn Hunt will begin, which will

allow the phasing in of veteran Hunt staff who receive advanced quarterly training on securing

special populations. These staff will be deployed to Hunt MHU on a regular-time basis at the

above standard pay rate, steadily reducing overtime costs. Once this hiring is completed, the

facility will be fully staffed at the standard pay rate. Warden Seth Smith has agreed to review

the Consent Judgment with these members of staff, as well as to allow Mrs. McCampbell and/or

members of her team to meet with and observe the staff. Training materials and policies are

expected to be submitted to the monitoring team by the week of July 7. The immediate access to

Hunt’s security staff will allow the Sheriff to move inmates into this facility without delay, and

will not result in a reduction of the security staff currently at the Orleans Parish Prison facilities.

        Additionally, it should be noted that Hunt will provide medical (non-mental health) care,

as well as any emergency routes, to those inmates housed at Hunt HMU, including the provision

of medication needed as part of that medical care, and will seek reimbursement only for the

medications administered or direct costs incurred.           Medication costs are currently being

estimated, but it is anticipated that these costs will be lower than what they currently are with

respect to this population.

Male Sub-Acute/Step-Down Mental Health

        True sub-acute male inmates will be housed at Hunt with the acute inmates. After
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inmates have received an amount of treatment sufficient to stabilize their acute and serious sub-

acute mental conditions, they will be returned to the OPP campus, where they will enter the sub-

acute mental health unit, which will be located in building 4 of the Temporary Detention Center.

Building 4 will require renovations to accommodate this sub-acute mental health population, and

this work will begin in August of 2014.

       The extent of this work is expected to include:

                      A build out which creates direct supervision desks, multipurpose room,

                       exam room, interview and counseling room, clinical work station with

                       support areas including clean utility, storage, soiled utility, and staff toilet

                      Replacement of the air conditioning system to meet Department of Health

                       requirements

                      Enclosing showers and providing proper moisture exhaust fans

                      Providing beds of formed plastic for suicide prevention

                      Providing furniture for the multipurpose and exam rooms, as well as staff

                       seating

                      Relocation of the temporary medical office building to the existing “yard”

                       area at TDC.

This work is expected to cost approximately $1.2 million to $1.6 million and will carry the

following timelines: 30 days for design, 30 days for the bid process, and 120 days for

construction.   Upon completion of this renovation work, all sub-acute and step-down inmates

will be housed in this facility. In the interim, the male step-down units, which are units intended

as a transition from acute and sub-acute to general population, will remain in TP5.

       As with the acute mental health facility, OPSO intends to operate this facility in the
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manner suggested by Dr. Patterson, wherein these inmates will be exposed to a therapeutic

environment with substantial group interaction to prepare them for re-entry into general

population. This facility will house approximately 26 male sub-acute and 27 step down male

inmates upon completion.

Female Acute Mental Health and Sub-Acute Mental Health

       Hunt MHU cannot accommodate female inmates; however, as of June 30, 2014, the

OPSO has identified 2 acute-level females and 2 sub-acute level females, all of whom are

currently housed in TP5. The monitoring team has expressed that based on national averages

and their visits to the facilities; there could be as many as 6 more females with acute and or sub-

acute conditions, as well as several others who may require housing on this unit for general

mental illness.

       As an immediate solution, as renovation begins on the first floor units of TP5 to develop

an intermediate mental health unit while awaiting construction of Phase III, females with both

acute and sub-acute mental health conditions, as well as those females who require permanent

housing in a mental health treatment environment, will be temporarily relocated to the

Temporary Detention Center. This transition is expected to occur on or before July 8, 2014.

       These are, as the name suggests, temporary buildings which are intended to serve as a

place-holder until permanent housing space is complete. Each building is divided into pods, with

an elevated control room between the pods and having high visibility into both. The right pod of

the building, where female acute and sub-acute mental health will be housed, is constructed in a

large dormitory style, with five individual, glass-front holding cells located along the rear wall of

the unit. The building is presently configured to hold approximately 60 inmates, featuring a

combination of bunk and single beds, as well as 8 large tables with benches attached. The unit
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contains two showers, and a common bathroom area with four toilets which are not partitioned

from each other. There are both telephones and video-conferencing stations directly inside the

unit.

        Mrs. McCampbell made two visits to the Temporary Detention Center Building 3 during

the week of July 23, 2014.       She met with ranking staff and reviewed and assisted with

development of a short-term housing plan for this special population.      To temporarily operate

the unit in a way which accommodates this population, several changes must be made.

        All bunk beds, with the exception of the three directly against the far wall, will be

removed from the unit. The single beds will remain in their current locations and will be used

for the majority of this population. Beds will remain in four of the five cells, with these cells

being used only for inmates who require isolation from the inmates being housed in the dorm

environment. The middle cell will converted to a medical exam room / medical office, and the

beds will be removed and replaced with a medical exam table. A desk will be placed in that cell,

and sliding privacy screens will be added for use during examinations. Two of the eight tables

will be removed from the unit to provide additional space, and the remaining tables will be

sufficient for general dining or recreational use, as well as a classroom-style environment for

group therapy sessions.    With the exception of the purchase of four suicide resistant beds and

mattresses, medical privacy screens, as well as partitions to create bathroom “stalls,” costs to

retrofit this unit are expected to be very low. It should be noted that the monitors have noted that

this temporary retrofit will be tested for 60 days and that additional modifications may be

necessary following their evaluation.

        It has been made clear to the City that any proposal which results in the indefinite use of

temporary housing facilities, such as the Temporary Detention Center, is unacceptable. Females
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with acute and sub-acute mental health conditions, as well as those with mental illnesses who

must remain in a mental health treatment environment, will only remain in the Temporary

Detention Center for the period of time it takes to complete renovations to the mental health units

in TP5. The units will be renovated, and styled as an open dormitory-style unit, with two of the

current four-person cells being converted to single or two-person cells. The security locking

system will be upgraded to a modern, fully functional system, security cameras will be added

and reconfigured, and the cell doors will be replaced with doors better suited for observation.

Common areas will be sanitized, reorganized, and repainted, providing space for group therapy,

interaction with other inmates, telephone calls, and recreation. TP5 renovations are expected to

cost approximately $1.6 million to $2 million and will carry the following timelines: 90 days for

design and the bid process, and 180 days for construction.       The unit will be operated in the

method suggested by Dr. Patterson and described above.

Staffing at the Acute and Sub-Acute Mental Health Units

Qualified Mental Health Professionals

       Staffing relative to mental health professionals will is anticipated to change upon

execution of the contract with a vendor to provide both medical and mental healthcare for the jail

facilities. The requirements of the Consent Judgment compliance have been included as part of

the RFP, and the vendor to which the contract is awarded with fully staff the facility with the

appropriate number of mental health professionals required to comply. However, in the interim,

the OPSO has added staff members and modified the deployment of that staff.

       The Intake and Processing Center (IPC) staffing plan has been modified. Registered

nurses (RNs) are now solely responsible for conducting the medical intake screenings, which

will allow more experienced nurses, with a higher level of training, to collect information on the
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inmates’ medical and mental health needs. It is anticipated that this will improve the quality of

medical Intake Screenings done, that it identify a greater breadth of medical and mental health

needs, that it will obtain more clinically significant details for prompt treatment. The previous

staffing plan allowed intake screenings to be conducted by licensed nurse practitioners (LPNs),

and members of the monitoring team had identified occasional inconsistent information between

the intake screening (done by LPNs), and the health assessments (done by RNs) performed at

day 14 of incarceration. Having RNs perform the medical Intake Screenings should minimize

these discrepancies.

       Staffing relative to the psychiatric units has also changed. CorrectHealth has provided

valuable assistance in locating additional staff members to quickly deploy to these units. A

second psychiatrist has been added to staff. A psychiatric nurse has also been added to staff, and

is working full time with the mental health population. The psychiatric unit is managed by an

RN, and a total of 5 RNs and 2 LPN’s have been assigned to that unit. The OPSO recently

brought on 10 certified nursing assistants, who actively work on the tiers housing the acutely

mentally ill, providing direct observation and suicide watch monitoring.          The OPSO has

additionally hired 5 social workers: two which assist with mental health assessments, one which

provides counseling and meets with youth offenders, one which provides counseling and serves

those with substance abuse issues, and one assigned to victims of sexual assaults.

       The OPSO’s staffing plan calls for 2 additional psychiatric nurses, 2 additional social

workers, and 10 additional certified nursing assistants to assist with this population, and efforts

are being made to retain these additional staff to further progress; however, a lack of funding has

prevented the Sheriff from successfully retaining these staff thus far.
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Staffing Relative to Classification and Screening

       A major part of properly identifying the mental health population will be the overall

classification process, aside from the medical intake screening described above.          The current

classification system in place is one which was developed in-house by several members of staff.

This in-house system was the best that OPSO could utilize given the lack of resources provided

to purchase a true classification system. This system was an improvement over the previous

classification system, which was essentially driven by an inmate’s bail; however, the monitoring

team considered the classification system insufficient to comply with the terms of the Consent

Judgment.

       The OPSO has now contracted with Dr. Patricia Hardyman, the sub-monitor relative to

classification in this case and one of the nation’s foremost classification experts, to design a true

classification system for the OPSO, and Dr. Hardyman’s work is in the testing phase and nearing

completion. Once in place, this classification system will assist OPSO in identification of the

mental health population. This system will be validated after it is in place and established.

       OPSO currently has a limited number of staff assigned to classify inmates, and will need

additional staff members, specifically classification technicians, to implement this system. The

Sheriff will contract with I/O Solutions, which has submitted a proposal which includes a job

analysis and creation of job description, recruitment, and selection/hiring of a classification

manager, classification technicians, and an administrative assistant for classifications. This

proposal is extremely thorough, and has been provided to the other parties, as well as the City. It

is the Sheriff’s position that the work provided by I/O solutions, not just relative to classification,

but to all the areas of the jail which are critically short on staffing, will substantially affect the

Sheriff’s ability to comply with the Consent Judgment.
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Security Staffing

       The Sheriff has prioritized staffing the mental health units of the jail, which has increased

the number of deputies assigned to those units, and he will continue to do so. It should be noted

that these numbers fluctuate with the availability of staff in various parts of the facilities, and

staff must sometimes be used to fill critical shortfalls in circumstances where employees call in

sick or must accompany a hospital route.

       As was previously discussed, the operation plan of these acute and sub-acute mental

health units are primarily driven by qualified mental health professionals, and this has recently

begun with the addition of the aforementioned nursing assistants, who are able to assist with the

important task of direct observation and suicide watch. This is allowing the OPSO to begin the

practice of utilizing security deputies for just that: security. While the nursing assistants are

observing inmates, the deputies’ presence on the unit can be better devoted to protecting the staff

and inmates from other inmates, deterring improper conduct, serving as a second level of

observation as the unit is patrolled, and managing daily tasks such as feed-up and recreational

time without interrupting the needed observation.

Medical and Mental Health Contract and Policies and Procedures

       The OPSO has also received six bid proposals from vendors seeking to be awarded the

OPSO health services contract, which will include mental health services.            The selection

committee has already met, and a second meeting is scheduled in July. The Sheriff’s goal is to

award the contract in late August, and for contract negotiations to begin by September 1.

       Once in place, this vendor will be responsible to provide appropriate mental health staff

sufficient to comply with the terms of the Consent Judgment.        This will include all relevant

portions of this provision which include assessment, re-assessment, and treatment by qualified
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mental health providers. These policies and procedures will be provided to the monitoring team

for review and comment to ensure compliance with the Consent Judgment.

       This process will take additional time, but in addition to the fiscal irresponsibility of

contracting for immediate revision of policies relative to mental health which would last only a

few months, the confusion and resulting problems caused in attempting to train both mental

health and security staff on what would effectively be three major policy modifications in a

matter of months would outweigh any benefits.

       In the interim period, the OPSO will operate pursuant to the plan and policies established

by CorrectHealth, along with existing policies and procedures pertaining to acute and sub-acute

mental health patients. CorrectHealth’s operational plan has been submitted to Dr. Patterson for

review and comment, and any required changes will be made. While everyone is in agreement

that this interim period is not optimal, it is the OPSO’s position that this plan is more than

sufficient to provide adequate treatment and care to those suffering from acute mental health and

sub-acute mental health conditions, and that the combination of an increased number of staff,

along with an improved living environment, will have a drastic and substantial impact on the

quality of services provided.

                                        CONCLUSION

       A lack of City action in taking any step to provide a good and sufficient jail to provide

acute mental health housing has now placed the parties, the staff, and the inmates in a position of

facing the reality of temporary facilities for three years. The Sheriff again notes, however, that

any proposal which looks to temporary facilities as an indefinite housing option, or as an option

while awaiting a population decline, is unacceptable. The Orleans Parish Sheriff’s Office will

operate permanent facilities, and will not allow the City’s indifference to morph the Temporary
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Detention Center into the second iteration of the Tents, a facility which had a planned 3 year

lifespan and is still in use today, nearly 9 years after Hurricane Katrina. It is essential that the

City be ordered to comply with its obligation to provide a good and sufficient jail to

accommodate acute mental health prisoners, and that the plan proposed by the Sheriff be

implemented immediately and without delay.


                                      Respectfully submitted,

                                      USRY, WEEKS & MATTHEWS

                                      /s/Blake J. Arcuri_________________
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                                      Counsel for Sheriff Marlin N. Gusman


                                         CERTIFICATE

       I hereby certify that I have caused a copy of this pleading to be served upon all other

parties hereto through the EM/CMF filing system, this the 30th day of June, 2014.



                                      /s/Blake J. Arcuri___________
